Case 2:04-cr-20392-SH|\/| Document 87 Filed 06/13/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,
vs.

DELOIS HARRIS,

-._r-._--._/~._/-._,V-._/~_.,,`_._,

Defendant.

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CR. NO. 04-20392-Ma

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 3l, 2005. Defense

counsel requested a continuance of the present trial date in order

to allow for additional preparation in the case.

The Court granted the request and continued the trial to the

rotation docket beginning August l, 2005 at 9:30 a.m., with a

report date of Friday, July 22, 2005 at 2:00 p.m.

The period from May 31, 2005 through August 12, 2005 is

excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the

interests of justice in allowing additional time

outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of June, 2005.

to prepare

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SAMUEL H. MAYS, JR.

UNITED STATES DISTRICT JUDGE

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ENNESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

